       Case 1:21-cv-04805-TWT Document 3-1 Filed 11/23/21 Page 1 of 15




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

KEVIN WASSON,

      Plaintiff,

v.                                               Case No. 1:21-cv-04805-TWT

ARCPE HOLDING, LLC, SERVIS ONE,
INC. d/b/a BSI FINANCIAL SERVICES,
and John Does 1-3,

      Defendants.


       MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
                   MOTION TO DISMISS

      COME NOW, ARCPE Holding, LLC (“ARCPE”) and Servis One, Inc. d/b/a

BSI Financial Services (“BSI”) (ARCPE and Servis One are sometimes referred to

collectively as “Defendants”), and file this Memorandum of Law in Support of their

Motion to Dismiss pursuant to Fed. R. Civ. P. 12(b)(6), respectfully showing this

Honorable Court as follows:

                           STATEMENT OF FACTS

      This case raises alleged issues with a mortgage loan obtained by the Plaintiff

in 2006, with the subject security deed currently held by ARCPE. See [Doc. 1-1] at

¶¶ 10-12. The subject property is located at 2851 Summit Parkway, Atlanta, Georgia

                                         1
       Case 1:21-cv-04805-TWT Document 3-1 Filed 11/23/21 Page 2 of 15




30331 (the “Property”). Id. at ¶¶ 1, 9. The Complaint in this case raises two distinct

issues with the loan – one that occurred in 2018, and the other in 2021.

      1. 2018 Allegations

      On December 12, 2018, the Plaintiff alleges that “ARCPE sent a letter to [him]

offering to settle the $43,937.00 loan for a lump sum payment of $20,000.00.” Id. at

¶ 39. The Plaintiff claims that he “accepted ARCPE’s offer” on December 17, 2018,

and then hired an attorney to prepare a written release agreement, “which [the

Plaintiff] signed and forwarded to Barry Brecher with ARCPE.” Id. at ¶¶ 40-41.

However, ARCPE – very reasonably – stated that it would not sign a release

agreement until it had cleared funds in its possession. Id. at ¶ 43. The Plaintiff,

however, claims that “ARCPE refused to accept the payment by failing to execute

the Release Agreement,” which the Plaintiff had drafted on his own accord. Id. at ¶

46. As a result of the alleged refusal to accept funds that the Plaintiff never claims

to have tendered, he asserts that ARCPE is liable for breach of contract. Id. at ¶ 47.

      2. 2021 Allegations

      The Plaintiff alleges that he entered into a purchase and sale agreement on

May 25, 2021, to sell the Property. Id. at ¶ 15. Four days prior to this, the Plaintiff

says that he contacted BSI – acting as an agent of ARCPE – “to request a direct line

of communication with ARCPE.” Id. at ¶ 17. BSI, through one of its employees,

                                          2
       Case 1:21-cv-04805-TWT Document 3-1 Filed 11/23/21 Page 3 of 15




advised the Plaintiff that he must communicate with BSI, and not directly with

ARCPE. Id. at ¶ 18. Thereafter, a closing attorney “repeatedly reached out to BSI to

obtain payoff information for ARCPE’s loan, yet BSI never provided the payoff

amount.” Id. at ¶ 20. BSI allegedly “told the closing attorney that i) the payoff

amount had been sent via email, ii) the payoff amount had been faxed, iii) no

documents could be provided to the closing attorney, and iv) the request for payoff

amount was rejected because ‘it was not hand written by the customer.’” Id. at ¶ 21.

      The Plaintiff claims that due to the inability to get a payoff statement, “the

purchaser terminated the Purchase and Sale Agreement and walked away, resulting

in a several-hundred-thousand dollar loss to [the Plaintiff].” Id. at ¶ 23. The Plaintiff

is seeking to recover this amount – $282,000.00 to be exact – through a claim for

tortious interference with contract. Id. at ¶¶ 14-29. The same allegations serve as a

basis for a standard negligence claim. Id. at ¶¶ 30-37.

               ARGUMENT AND CITATION OF AUTHORITY

A.    STANDARD OF REVIEW

      This Court may grant a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6)

if the complaint does not state a claim that is “plausible on its face.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544,

570 (2007)). “Determining whether a complaint states a plausible claim for relief

                                           3
       Case 1:21-cv-04805-TWT Document 3-1 Filed 11/23/21 Page 4 of 15




will . . . be a context-specific task that requires the reviewing court to draw on its

judicial experience and common sense.” Id. at 679 (citation omitted). In considering

a motion to dismiss, the Court must treat all well-plead allegations of the Complaint

as true. Id. However, “the tenet that a court must accept as true all of the allegations

contained in a complaint is inapplicable to legal conclusions. Threadbare recitals of

the elements of a cause of action, supported by mere conclusory statements, do not

suffice.” Id. at 678 (citing Twombly, 550 U.S. at 555).

B.    THE PLAINTIFF HAS FAILED TO STATE A CLAIM FOR
      TORTIOUS INTERFERENCE WITH CONTRACT

      In Count I, the Plaintiff attempts to state a claim for tortious interference with

contract for the alleged failure to provide a payoff statement.

      The elements of tortious interference with a contract consist of (1)
      improper action or wrongful conduct by the defendant without
      privilege; (2) the defendant acted purposely and with malice with the
      intent to injure; (3) the defendant induced a breach of a contractual
      obligation or caused a third party to discontinue or fail to enter into an
      anticipated business relationship with the plaintiff; and (4) the
      defendant’s tortious conduct proximately causes damage to the
      plaintiff.

Rowell v. Phoebe Putney Mem'l Hosp., Inc., 791 S.E.2d 183, 185 (Ga. Ct. App. 2016)
(quoting Culpepper v. Thompson, 562 S.E.2d 837 (Ga. Ct. App. 2002)).

      Here, the Plaintiff cannot establish the elements of the cause of action.

      1. There was no wrongful conduct and ARCPE was not a stranger to the
         contract

                                           4
       Case 1:21-cv-04805-TWT Document 3-1 Filed 11/23/21 Page 5 of 15




      First, the Plaintiff must show that ARCPE, through its agent BSI, exhibited

“improper action or wrongful conduct” that was “without privilege.” Id. The phrase

“improper action or wrongful conduct” “generally involves predatory tactics such as

physical violence, fraud or misrepresentation, defamation, use of confidential

information, abusive civil suits, and unwarranted criminal prosecutions.” Kirkland

v. Tamplin, 645 S.E.2d 653, 656 (Ga. Ct. App. 2007) (citations omitted).

Additionally,

      [t]o establish under the first element that the defendant acted “without
      privilege,” the plaintiff must show that the defendant was a stranger to
      the contract or business relation at issue. ASC Constr. Equip. USA, Inc.
      v. City Commercial Real Estate, Inc., 303 Ga. App. 309, 313, 693
      S.E.2d 559 (2010). Under the so-called “stranger doctrine,” “only a
      stranger to both the contract at issue and the business relationship
      giving rise to and underpinning the contract may be liable for tortious
      interference [with the contract or the relationship].” (Citation and
      punctuation omitted.) Perry Golf Course Development, LLC v. Housing
      Auth. of the City of Atlanta, 294 Ga. App. 387, 390, 670 S.E.2d 171
      (2008); Atlanta Market Center Mgmt. Co. v. McLane, 269 Ga. 604,
      608–610, 503 S.E.2d 278 (1998). “One is not a stranger to the contract
      just because one is not a party to the contract....” Id. at 608, 503 S.E.2d
      278. Those who have a direct economic interest in or would benefit
      from a contract with which they are alleged to have interfered (even
      though not intended third-party beneficiaries of the contract) are
      not strangers to the contract and cannot have tortiously interfered.
      Id. at 609, 503 S.E.2d 278. Moreover, “all parties to an interwoven
      contractual arrangement are [not strangers and therefore] not liable for
      tortious interference with any of the contracts or business
      relationships.” Id. at 609–610, 503 S.E.2d 278.

Mabra v. SF, Inc., 728 S.E.2d 737, 740 (Ga. Ct. App. 2012) (emphasis added).

                                          5
       Case 1:21-cv-04805-TWT Document 3-1 Filed 11/23/21 Page 6 of 15




      Here, there was clearly no conduct that could amount to “improper action or

wrongful conduct.” Failing to transmit a payoff quote for a loan to a third-party

closing attorney obviously does not equate to “predatory tactics such as physical

violence, fraud or misrepresentation, defamation, use of confidential information,

abusive civil suits, and unwarranted criminal prosecutions.” Kirkland, 645 S.E.2d at

656. Moreover, ARCPE would clearly benefit from the purchase and sale agreement

being consummated, as the proceeds of the sale would presumably have satisfied its

loan in full. Thus, it was not a “stranger to the contract” and therefore there can be

no tortious interference with a contract. Count I should be dismissed.

      2. The Plaintiff has failed to plead facts showing the requisite intent

      The second element of the claim is that “the defendant acted purposely and

with malice with the intent to injure.” Rowell, 791 S.E.2d at 185. A defendant can

only have the requisite intent to interfere with a contract “when he ‘desires to bring

it about or if he knows that the interference is certain or substantially certain to occur

as a result of his action.’” Robin v. Bellsouth Advertising & Pub. Co., 471 S.E.2d

294, 296 (Ga. Ct. App. 1996) (quoting Restatement 2d of Torts, § 766B). Here, there

are no allegations that BSI or ARCPE even knew about the purchase and sale

agreement and no allegations that they desired to have it terminated or knew that

failing to provide a payoff would result in termination. See [Doc. 1-1] at ¶¶ 14-29.

                                            6
       Case 1:21-cv-04805-TWT Document 3-1 Filed 11/23/21 Page 7 of 15




Thus, the Plaintiff cannot establish the second element of the claim and Count I

should be dismissed.

      3. The Plaintiff has failed to show damages

      The Plaintiff has also failed to plead any facts that plausibly show he was

damaged by any tortious interference with contract. He claims that he “lost out on

the proceeds of the sale and was financially injured in the amount of the contract

price of $282,000.00.” However, this is implausible. He admits that he has at least

one security deed on the Property, and perhaps more. See [Doc. 1-1] at ¶ 16 (noting

that the closing attorney had to contact “all mortgagees on the Property to obtain the

exact payoff amount.”) (emphasis added). The Plaintiff would have never stood to

benefit $282,000.00, as it is evident that the Property was not being sold subject to

the security deeds, but free and clear of them (i.e., they were to be satisfied from sale

proceeds). The Plaintiff has thus failed to plead any facts showing he was damaged

or even that the sale proceeds would have satisfied the existing liens on the Property.

As such, he has failed to state a claim in Count I and it should be dismissed.

C.    THE PLAINTIFF FAILED TO STATE A CLAIM FOR NEGLIGENCE

      In Count II, the Plaintiff asserts a claim for negligence against both

Defendants for allegedly failing to provide a payoff statement. [Doc. 1-1] at ¶¶ 30-

37.

                                           7
       Case 1:21-cv-04805-TWT Document 3-1 Filed 11/23/21 Page 8 of 15




      Under Georgia law, the necessary elements of a negligence claim “are
      the existence of a legal duty; breach of that duty; a causal connection
      between the defendant's conduct and the plaintiff's injury; and
      damages.”

Bennett v. Ocwen Loan Servicing, LLC, No. 213CV00243WCOJCF, 2014 WL
12860644, at *5–6 (N.D. Ga. May 13, 2014), report and recommendation
adopted, No. 2:13-CV-243-WCO-JCF, 2014 WL 12861144 (N.D. Ga. Aug. 12,
2014) (quoting Ceasar v. Wells Fargo Bank, N.A., 322 Ga. App. 529, 533, 744
S.E.2d 369 (Ga. Ct. App. 2013)).

      When a borrower sues the holder of a security deed and its loan servicer, all

duties arise under the promissory note and security deed, which are contracts. Id. at

*6. “To establish a negligence claim for breach of a contractual duty, a plaintiff must

show that, in addition to breaching the contract, the defendant breached an

independent duty imposed by law.” Id.at *5 (collecting cases). Notably, “it is well

established that there is no independent duty to non-negligently service a loan.” Id.

at *6 (collecting cases).

      Here, the Plaintiff has failed to show any independent duty outside of the

contract, and pleads only that “ARCPE and BSI owed a duty to Mr. Wasson to

exercise due care in holding and servicing the mortgage for the property.” [Doc. 1-

1] at ¶ 31. And while the Plaintiff says that both ARCPE and BSI owed him a duty,

the negligence claim is focused solely on BSI’s (the loan servicer) actions and its

alleged breach. See id. at ¶¶ 34-35. Georgia law is clear that no such duty exists with

respect to mortgages outside of contractual obligations and “there is no independent
                                          8
       Case 1:21-cv-04805-TWT Document 3-1 Filed 11/23/21 Page 9 of 15




duty to non-negligently service a loan.” Bennett, 2014 WL 12860644, at *6. Thus,

the Plaintiff has failed to state a claim for negligence and Count II should be

dismissed.

      In addition to failing to show that the Defendants owed him any tort duties,

the Plaintiff has also failed to plead facts showing how he was damaged. Within

Count II, the Plaintiff says just that “ARCPE is jointly liable with its agent, BSI, for

BSI’s negligence in an amount to be proven at trial.” [Doc. 1-1] at ¶ 37. Damages

are an “essential element” of a negligence claim, See Perry v. Ossick, 467 S.E.2d

604, 608 (Ga. Ct. App. 1996), and the statement that a plaintiff will prove damages

at trial does not plausibly show damages. See Joseph v. Fed. Home Loan Mortg.

Corp., No. 1:12-CV-01022-RWS, 2012 WL 5429639, at *7 (N.D. Ga. Nov. 6, 2012)

The Plaintiff has utterly failed to plead any facts within Count II to show damages,

and his negligence claim should also be dismissed on this basis. To the extent that

the Plaintiff is intending to use his allegations of damages from Count I to support

his damages claim in Count II, that too fails for the same reasons as it does in Count

I. See Section B.2, supra. Count II should be dismissed.

D.    THE PLAINTIFF HAS FAILED TO STATE A CLAIM FOR BREACH
      OF CONTRACT

      In Count III, the Plaintiff tries to bring a breach of contract claim against

ARCPE based on the allegations that he had supposedly entered into a contract with
                                           9
      Case 1:21-cv-04805-TWT Document 3-1 Filed 11/23/21 Page 10 of 15




ARCPE in 2018 to settle his $43,937.00 debt for $20,000.00, and that ARCPE

refused to accept this payment as full satisfaction. See [Doc. 1-1] at 38-47. An

obvious prerequisite to bringing a breach of contract claim is the existence of a

contract. Grady Mem. Hosp. Corp. v. Hayes, 801 S.E.2d 55, 57 (Ga. Ct. App. 2017).

      A contract is not valid if there is no consideration. Thomas v. Wells Fargo

Bank, N.A., No. 1:20-CV-00229-SDG-RGV, 2021 WL 2650360, at *7 (N.D. Ga.

Jan. 19, 2021), report and recommendation adopted in part, 2021 WL 1244673

(N.D. Ga. Mar. 11, 2021) (citations omitted). “The element of consideration requires

an act, a forbearance, a detriment, or a destruction of a legal right, or a return

promise, bargained for and given in exchange for the promise.” Id. at *8 (quoting

Harbin v. Roundpoint Mortg. Co., 758 F. App’x 753, 757 (11th Cir. 2018)). “An

agreement on the part of one to do what he is already legally bound to do is not

sufficient consideration for the promise of another.” Citizens Trust Bank v. White,

618 S.E.2d 9, 11-12 (Ga. Ct. App. 2005) (citations omitted). The “payment of a debt

that [the plaintiff] already owed [is] not” adequate consideration for a contract. Id.;

see also Thomas, 2021 WL 2650360, at *8 (collecting cases). Here, the Plaintiff was

clearly already obligated to pay the pre-existing debt to ARCPE, and his alleged

agreement to pay what he already owed is not consideration for a new contract. As




                                          10
      Case 1:21-cv-04805-TWT Document 3-1 Filed 11/23/21 Page 11 of 15




such, he has failed to state a claim for breach of contract and Count III should be

dismissed.

      And even if payment of a pre-existing debt that the Plaintiff was obligated to

pay could be consideration sufficient to form a contract, the Plaintiff has still failed

to state a claim because the facts show that, at best and assuming payment of the pre-

existing debt could be considered, ARCPE made an offer for a unilateral contract

that could only be accepted by the Plaintiff’s performance of making a $20,000.00

payment. “A unilateral contract is an offer in writing which makes promises in

consideration for acts of performance which are not only the acceptance, but also the

consideration flowing to the party making the offer in writing.” Cardin v. Outdoor

East, 481 S.E.2d 872, 873 (Ga. Ct. App. 1997) (collecting cases).

      Here, the Complaint states that ARCPE made an offer in writing to the

Plaintiff on December 12, 2018, “to settle the $43,937.00 loan for a lump sum

payment of $20,000.00” and that he “had until December 27 to remit funds . . . .”

[Doc. 1-1] at ¶¶ 39, 44. ARCPE further told the Plaintiff that “we are not releasing

your debt with out cleared funds in our office.” Id. at ¶ 43. This is the epitome of a

unilateral contract that could only have been accepted by the Plaintiff’s performance

– payment of $20,000.00 by December 27, 2018. He admits he never paid that. See

id. at ¶¶ 44-47. The Plaintiff claims to have acted on his own to demand the execution

                                          11
       Case 1:21-cv-04805-TWT Document 3-1 Filed 11/23/21 Page 12 of 15




of a release agreement prior to tendering the funds. Id. at ¶ 41. “[I]t is . . . a

fundamental principle of contract law that ‘an offeror is the master of his or her offer,

and free to set the terms thereof.’” Grange Mut. Cas. Co. v. Woodward, 797 S.E.2d

814, 819 (Ga. Ct. App. 2017) (citation omitted). A response to an offer that requires

an additional act is a counteroffer, not an acceptance. Id. (citing Frickey v. Jones,

630 S.E.2d 374, 376-77 (Ga. 2006)). Thus, the Plaintiff’s demand for a signed

agreement prior to tendering the funds was a counteroffer that was clearly rejected

by ARCPE’s refusal to sign and there was simply no contract ever formed – even if

payment of past debt could be consideration. The Plaintiff has utterly failed to state

a claim for breach of contract, and Count III should be dismissed.

E.    THE PLAINTIFF CANNOT RECOVER ATTORNEY’S FEES AND
      EXPENSES OF LITIGATION

      In the final claim in the Complaint, the Plaintiff seeks to recover attorney’s

fees and expenses of litigation under O.C.G.A. § 13-6-11. However, recovery under

this statute requires that a plaintiff succeed on an underlying cause of action. See

Davis v. Johnson, 634 S.E.2d 108, 110-111 (Ga. Ct. App. 2006). Because all of the

Plaintiff’s underlying claims fail, so too does his claim under § 13-6-11 and it must

be dismissed.




                                           12
      Case 1:21-cv-04805-TWT Document 3-1 Filed 11/23/21 Page 13 of 15




                                 CONCLUSION

      Based on the foregoing, the Defendants respectfully request that this Court

grant their Motion to Dismiss.

      Respectfully submitted, this 23rd day of November 2021.

                                      /s/ Bret J. Chaness
                                      BRET J. CHANESS (GA Bar No. 720572)
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                                        13
      Case 1:21-cv-04805-TWT Document 3-1 Filed 11/23/21 Page 14 of 15




                          FONT CERTIFICATION

      The undersigned counsel hereby certifies that the within and foregoing was

prepared using Times New Roman, 14-point font in accordance with LR 5.1(B).

      This 23rd day of November, 2021.

                                    /s/ Bret J. Chaness
                                    BRET J. CHANESS (GA Bar No. 720572)




                                         14
      Case 1:21-cv-04805-TWT Document 3-1 Filed 11/23/21 Page 15 of 15




                         CERTIFICATE OF SERVICE

      I hereby certify that I have, this 23rd day of November 2021, filed the within

and foregoing via CM/ECF, which will electronically serve notice on all parties.


                                      /s/ Bret J. Chaness
                                      BRET J. CHANESS (GA Bar No. 720572)




                                        15
